                                Motion (69) is GRANTED. All counsel are expected to comply
                                with the Local Rules of this Court.

                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                                                              US DISTRICT JUDGE




UNITED STATES OF AMERICA

     v.                                     No. 3:25-cr-115

                                            Judge Waverly D. Crenshaw, Jr.
KILMAR ARMANDO ABREGO GARCIA,


                        Defendant.




          MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
          ISSUANCE OF ORDER REQUIRING COMPLIANCE WITH
                     LOCAL CRIMINAL RULE 2.01




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